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                           THE UNITED STATES DISTRICT COURT
                                   DISTRICT OF UTAH

CONSUMER FINANCIAL PROTECTION
BUREAU,
                                                 MOTION FOR LEAVE TO FILE AN
              Plaintiff,                         AMENDED COMPLAINT

              v.
                                                 Case No. 2:23-cv-00462-JNP-JCB
SNAP FINANCE LLC, SNAP RTO LLC,
SNAP SECOND LOOK LLC, SNAP U.S.                  District Judge Jill N. Parrish
HOLDINGS LLC, SNAP FINANCE
HOLDINGS LLC,                                    Magistrate Judge Jared C. Bennett

              Defendants.




       Plaintiff Consumer Financial Protection Bureau (Bureau) respectfully moves the

Court, pursuant to Fed. R. Civ. P. 15(a) and DUCivR 15-1(a), for leave to file the

amended complaint attached as Exhibit 1. Specifically, the Bureau seeks leave to amend

allegations supporting counts brought under the Consumer Financial Protection Act of

2010 (CFPA) and the Electronic Fund Transfer Act (EFTA) that were dismissed without

prejudice by the Court’s August 1, 2024 Memorandum Decision and Order on the Snap

Defendants’ (collectively, Snap) Motion to Dismiss. Dkt. No. 49 (Memorandum Decision

and Order).
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                                    BACKGROUND

       In the Conclusion of its Memorandum Decision and Order, the Court ruled:

       Claims one through eight of the CFPB’s complaint are DISMISSED for failure to
       state a claim upon which relief can be granted. To the extent, however, that such
       dismissal turns on the CFPB’s failure to plead the use of Snap’s legacy lease to
       finance one-time services under the CFPA or EFTA, however, the dismissal is
       without prejudice[.]

Memorandum Decision and Order at 31.

       Earlier in its Memorandum Decision and Order, the Court noted the following:

       [T]he CFPB states, in its opposition memorandum, that “consumers commonly
       use Snap’s Agreements to finance auto repairs . . . which includes services that
       cannot be physically returned to Snap.” Opp’n Mem. at 9-10 (citing Compl. ¶ 67).
       At oral argument, the CFPB also represented that Snap’s legacy lease was used to
       finance such services as engine repairs or auto collision repairs not attendant to
       any merchandise.

       If this were so, the “credit” analysis above might conceivably be different.

Id. at 18. In an accompanying footnote, the Court went on to note:

       It is somewhat difficult to imagine how an exchange of value for a (one-time)
       service could be contemporaneous or substantially contemporaneous if stretched
       out over the course of twelve months. Additionally, because services can neither
       be surrendered nor possessed, the significance of the parties’ remedial rights in
       the arrangement is very different from lease arrangements for possession of
       property.

Id. at 18 n.17.

       Through this Motion, the Bureau seeks leave to amend its complaint to describe

how Snap’s lease agreements finance one-time auto repairs and services and meet the

definitions of credit found in the CFPA and EFTA.

                                      ARGUMENT

       An amendment in this case is consistent with both the Court’s Memorandum

Decision and Order and the liberal permissions of Rule 15(a). Under Rule 15, “courts

should freely give leave [to amend] when justice so requires.” Fed. R. Civ. P. 15(a)(2).

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Accordingly, under Rule 15, “[r]efusing leave to amend is generally only justified upon a

showing of undue delay, undue prejudice to the opposing party, bad faith or dilatory

motive, failure to cure deficiencies by amendments previously allowed, or futility of

amendment.” Bylin v. Billings, 568 F.3d 1224, 1229 (10th Cir. 2009). As applied here,

such relevant factors weigh in favor of permitting the Bureau to file its amended

complaint.

       A. The Proposed Amendment is Not the Result of Undue Delay.

       As excerpted above, the Court held that, “to the extent . . . [its] dismissal [of

Claims one through eight] turns on the CFPB’s failure to plead the use of Snap’s legacy

lease to finance one-time services under the CFPA or EFTA, the dismissal is without

prejudice.” Memorandum Decision and Order at 31.

       The Bureau submits that the Court’s dismissal of Counts brought under the CFPA

and EFTA indeed turns on this determination that the “CFPB’s complaint does not

sufficiently allege the financing of services via Snap’s legacy lease[.]” Id. at 19. Thus, the

Bureau’s Motion is in response to, and consistent with, the Court’s Memorandum

Decision and Order.1 The Bureau is filing this instant Motion within 14 days of that

Order, and Snap has not yet filed its answer to the Bureau’s original complaint. See Dkt.

Nos. 50, 51. Nothing in the Bureau’s conduct suggests undue delay.

       B. The Proposed Amendment is Not Unduly Prejudicial in this Rule 15
          Context.

       Courts typically find undue prejudice in this Rule 15 context only when the

amendment unfairly affects defendants “in terms of preparing their defense to the



1 The Bureau’s amended complaint does not re-allege dismissed Counts V and VI

brought under the Truth in Lending Act (TILA), Regulation Z, and the CFPA.
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amendment.” Patton v. Guyer, 443 F.2d 79, 86 (10th Cir. 1971). “Most often, this occurs

when the amended claims arise out of a subject matter different from what was set forth

in the complaint and raise significant new factual issues.” Minter v. Prime Equipment

Co., 451 F.3d 1196, 1208 (10th Cir. 2006).

      The Bureau’s amended complaint raises no new significant factual issues beyond

those in its original complaint. Rather, the Bureau’s amended complaint provides

additional details relating to Snap’s financing of one-time labor and service costs—

specifically auto repairs and services—via its leases. Though the Bureau’s original

complaint included references to Snap’s leases financing “services,” the Court

determined the Bureau had not included “specific pleading in the complaint regarding

what the services-financing arrangement looked like in practice.” Memorandum

Decision and Order at 18. The Bureau now seeks to add more specific allegations, while

also dropping claims brought under TILA, Regulation Z, and the CFPA in light of the

Court’s Memorandum Decision and Order. See Wade v. Gaither, 623 F. Supp. 2d 1277,

1285 (D. Utah 2009) (prejudice rarely occurs “where the defendant already generally

has notice of the claims and amendment merely corrects deficiencies rather than adds

wholly new claims or factual circumstances.”).

      Finally, the Bureau’s proposed amended complaint would not alter a prior

scheduling order or affect any ongoing discovery. Pursuant to Judge Bennett’s Order to

Propose a Schedule, the issuance of a scheduling order (and the start of discovery) had

been delayed pending the resolution of Snap’s Motion to Dismiss. See Dkt. No. 8 at 1

n.2. Accordingly, at this time, the Bureau’s proposed amendment would not require any

new or additional discovery.



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      C. The Remaining Relevant Factors Weigh in Favor of the Proposed
         Amendment.

      The remaining relevant factors quoted in Billings—bad faith, dilatory motive,

failure to cure deficiencies by amendments previously allowed, and futility—all support

the Bureau’s proposed amendment. There is no evidence of bad faith or dilatory motive.

Rather, as described above (and as reflected in the record), the Bureau has moved

expeditiously following the Court’s ruling in seeking to file an amended complaint. And

there have been no previously allowed amendments in this case.

      Finally, regarding futility, “[a] proposed amendment is futile if the complaint, as

amended, would be subject to dismissal.” Bradley v. Val-Mejias, 379 F.3d 892, 901

(10th Cir. 2004). Here, the Court has observed that, with sufficient allegations that Snap

financed auto repairs that included one-time services that cannot physically be returned

to Snap, or that Snap financed auto repairs not attendant to any merchandise, the

Court’s analysis concerning whether Snap’s leases meet the definition of “credit” in the

appliable statutes might be different. See Memorandum Decision and Order at 18 n.17

(discussing Shaumyan v. Sidetex Co., 900 F.2d 16, 18–19 (2d Cir. 1990)).

      As reflected in the allegations and attachments accompanying the Bureau’s

proposed amended complaint, Snap’s leases financed auto repairs and services

comprised—in whole or in part—of one-time labor or service costs. As alleged in the

Bureau’s amended complaint, in these auto repair cases, a consumer’s scheduled

payments, whether over 12 or 18 months, are simply not “substantially

contemporaneous” with the value received for such one-time services. Cf. Shaumyan,

900 F.2d at 19. Nor can such one-time services be possessed, surrendered, or recalled.




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Cf. Memorandum Decision and Order at 13, 18 n.17. The Bureau’s proposed

amendments would not be futile in this case.

                                   CONCLUSION

      For these reasons, the Bureau respectfully submits that the Court should grant

this Motion and permit the Bureau to file the Amended Complaint attached as Exhibit 1.


Dated: August 15, 2024           Respectfully submitted,

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